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                              EXHIBIT B
                                ROA #17
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     DGYHUVHILQDQFLDODQGWD[FRQVHTXHQFHV

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     FRPPHUFLDOUHDOHVWDWHEXVLQHVV%&+)LVLQIRUPHGDQGEHOLHYHVWKDW3URPHQDGH¶VVROHPHPEHUDQG

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                'HIHQGDQW'53+ROGLQJV//& ³'53´ LVD&DOLIRUQLDOLPLWHGOLDELOLW\FRPSDQ\ZKRVH

     SULPDU\SODFHRIEXVLQHVVLVLQ(O&DMRQ&DOLIRUQLD'53LVHQJDJHGLQWKHFRPPHUFLDOUHDOHVWDWH

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Case 3:21-cv-01417-AJB-AGS Document 1-16 Filed 08/06/21 PageID.546 Page 7 of 169

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      6WUHHW&LW\RI6DQ%HUQDUGLQR&RXQW\RI6DQ%HUQDUGLQR&DOLIRUQLDRIZKLFK%&+)LVWKHOHVVHH

          ³'53/HDVH´ 

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      OLDELOLW\FRPSDQ\ZKRVHSULPDU\SODFHRIEXVLQHVVLVLQ(O&DMRQ&DOLIRUQLD,QODQG9DOOH\LV

      HQJDJHGLQWKHFRPPHUFLDOUHDOHVWDWHEXVLQHVV3ODLQWLIILVLQIRUPHGDQGEHOLHYHVWKDW,QODQG

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     UHODWHGV\VWHPVTXDOLW\DVVXUDQFHPDQDJHPHQWGDWDUHSRUWLQJDQGJHQHUDODGPLQLVWUDWLRQRI

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     DUHPRUHOLNHO\WKDQQRW³GLVTXDOLILHGSHUVRQV´XQGHUWKH,QWHUQDO5HYHQXH&RGHDQG7UHDVXU\

     UHJXODWLRQVUHIHUHQFHGDERYH

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              D 3URPHQDGH'53DQG,QODQG9DOOH\DUHDOVRUHIHUUHGWRFROOHFWLYHO\DVWKH³3ULHVW//&V´

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      &DOLIRUQLD0HGLFDLGSURJUDPFDOOHG³0HGL&DO´'+&6LVWKHVWDWHDJHQF\UHVSRQVLEOHIRUWKH

      DGPLQLVWUDWLRQRIWKH0HGL&DOSURJUDP$VQRWHGDERYHJRYHUQPHQWKHDOWKSURJUDPIXQGVIORZWR

      )4+&VXQGHUWKHRYHUVLJKWRIWKH'+&6DQGWKH'+&6LVHPSRZHUHGWRVXVSHQGDOO

      UHLPEXUVHPHQWIRUWKHSURYLVLRQRIKHDOWKFDUHVHUYLFHVWR0HGL&DOPHPEHUV

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      VROHO\IRUWKHSXUSRVHRIQDPLQJWKH'+&6DVDGHIHQGDQWLQWKLVDFWLRQDVDQLQWHUHVWHGSDUW\WRWKH

      LQWHUSOHDGHUFDXVHRIDFWLRQ'LUHFWRU/LJKWERXUQHLVUHVSRQVLEOHIRUGLUHFWLQJRUJDQL]LQJDQG

     DGPLQLVWHULQJWKH0HGL&DOSURJUDPLQDFFRUGDQFHZLWKDOODSSOLFDEOHODZVDQGUHJXODWLRQV$V

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     PRQLWRULQJDQGGLUHFWLQJ%&+)¶VSHUIRUPDQFHRILWVOHDVHVZLWKWKH3ULHVW//&VLQFOXGLQJWKH

     SUHYHQWLRQRISD\PHQWRIUHQWLQH[FHVVRI)05 7KURXJKQRIDXOWRILWVRZQ%&+)KDVDOUHDG\

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     WKRVHLGHQWLILHGKHUHLQDV'2(6WKURXJKLQFOXVLYHDUHXQNQRZQWR%&+)ZKRWKHUHIRUHVXHV

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     HDFKRIWKHGHIHQGDQWVGHVLJQDWHGKHUHLQDVD'2(LVOHJDOO\UHVSRQVLEOHLQVRPHPDQQHUIRUWKH

     HYHQWVDQGKDSSHQLQJVKHUHLQUHIHUUHGWRDQGOHJDOO\FDXVHGLQMXU\DQGGDPDJHWR%&+)DVDOOHJHG

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                 G $UHWKHSULQFLSDOVDJHQWVJXDUDQWRUVRZQHUVDOWHUHJRVMRLQWYHQWXUHUVRUSDUWQHUVRI

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                        Delos v. Farmers Insurance Group  &DO$SSGDowney Savings &

                        Loan v. Ohio Casualty  &DO$SSGRUDQ\VLPLODUMRLQWOLDELOLW\

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     KHUHLQLVWKHDJHQWFRFRQVSLUDWRUMRLQWYHQWXUHUSDUWQHUHPSOR\HUJXDUDQWRUUDWLILHURUHPSOR\HH

     RIHYHU\RWKHUGHIHQGDQWDQGQRQSDUW\SDUWLFLSDQWLQWKHZURQJIXODFWVDOOHJHGKHUHLQDQGKDVEHHQ

     DFWLQJZLWKLQWKHFRXUVHDQGVFRSHRIVDLGDJHQF\FRQVSLUDF\MRLQWYHQWXUHSDUWQHUVKLSJXDUDQWHH

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     FRPSDQLHVDORQHDQLQHTXLWDEOHUHVXOWZLOOIROORZ EDVHGRQWKHIDFWRUVVHWIRUWKLQAssociated

     Vendors, Inc. v. Oakland Meat Co.  &DO$SSGDQGArnold v. Browne  

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      RIWKHGHIHQGDQWVUHVLGHLQRUKDYHWKHLUSULQFLSDOSODFHRIEXVLQHVVLQWKH&RXQW\RI6DQ'LHJRRU

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     WKHPZHUHSULFHGVXEVWDQWLDOO\DERYHIDLUPDUNHWYDOXH7KUHHRIWKHVHFRQWUDFWVDUHWKH3ULHVW

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     UHODWLQJLQSDUWWRFRQWUDFWVZLWK3ULHVWRZQHGHQWLWLHVother than WKH3ULHVW//&V%&+)LVDYLFWLP

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      /HDVHV,QGHSHQGHQWFHUWLILHGFRPPHUFLDOUHDOHVWDWHDSSUDLVHUVPDGHWKHIROORZLQJILQGLQJV

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            * &RPELQHG(IIHFWRIWKH3ULHVW/HDVHV

                ,IHQIRUFHDEOHWKH3ULHVW/HDVHVZRXOGVLSKRQPLOOLRQLQRYHU)05PRQH\IURP

     %&+)RYHUWKHOLIHRIWKHOHDVHV 7KLVLVLQDGGLWLRQWRWKHQHDUFDWDVWURSKLFKDUPFDXVHGE\RWKHU

     XQDXWKRUL]HGFRQWUDFWVEHWZHHQRWKHU3ULHVWHQWLWLHVDQG%&+)ZKLFKDUHQRWWKHVXEMHFWRIWKLV

     &RPSODLQW :LWKRXWMXGLFLDOLQWHUYHQWLRQRQWKH3ULHVW/HDVHVWKHDFWLRQVRI+HEHWVDQGDKDQGIXO

     RI3ULHVWHQWLWLHVWKDWWRRNSODFHSULRUWR+HEHWV¶GHDWKZLOOFRQWLQXHWRSUHVHQWDQLPPHGLDWHWKUHDWWR

     GLVDEOHDQHVVHQWLDOSURYLGHURISULPDU\KHDOWKFDUHVHUYLFHVWRXQGHUVHUYHGLQODQGFRPPXQLWLHVLQ

     6DQ'LHJR6DQ%HUQDUGLQRDQG5LYHUVLGH&RXQWLHV7KH3ULHVW/HDVHVWKHUHIRUHFU\RXWIRUWKHUHOLHI

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                        ,PSRVLWLRQRID&RQVWUXFWLYH7UXVW$JDLQVW3ULHVW//&VDQG'RHV 

                %&+)LQFRUSRUDWHVE\UHIHUHQFH3DUDJUDSKVWKURXJKDERYHDVWKRXJKIXOO\VHWIRUWK

     KHUHLQ

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     ([HFXWLYH2IILFHUDWWKHWLPHNQRZLQJO\DFWHGLQFRQFHUWZLWKHDFKRIWKH3ULHVW//&VWRHQWHULQWR

     \HDUOHDVHVDWPRUHWKDQWZLFH)057KH3ULHVW/HDVHVZHUHQHYHUSUHVHQWHGWRWKH%&+)

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             D $SSURYDOIURPWKH%RDUG

             E 'LVFORVLQJWKHLUWHUPVWRWKH%RDUG

             F 'LVFORVLQJWRWKH%RDUGKLVUHODWLRQVKLSZLWK+HEHWV

             G 3UHVHQWLQJWKH%RDUGZLWKDQ\HYLGHQFHRIGXHGLOLJHQFHLQGHWHUPLQLQJWKHIDLUPDUNHW

                     YDOXHRIWKHFRQWUDFWVDQG

             H $%RDUGUHVROXWLRQDSSURYLQJDQ\RIWKH3ULHVW/HDVHV

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      DQ\RIWKHLUDPHQGPHQWVSRVWVLJQDWXUH

            $IWHU+HEHWVVLJQHGWKH3ULHVW/HDVHV+HEHWVDQGRWKHUIRUPHU%&+)H[HFXWLYHVXQGHU

     +HEHWV¶GLUHFWFRQWUROZKRKDGNQRZOHGJHWKDWWKHWHUPVRIWKH3ULHVW/HDVHVZHUHRYHU)05

     VXSSUHVVHGGLVFORVXUHRIWKRVHOHDVHWHUPVWRWKH%RDUG7KHPLVUHSUHVHQWDWLRQVDQGIDLOXUHVWR

     GLVFORVHLQIRUPDWLRQDQGVXSSUHVVLRQRILQIRUPDWLRQFRQFHUQLQJWKH3ULHVW/HDVHVZHUHPDGHZLWK

     WKHLQWHQWWRLQGXFH%&+)WRSD\DQGFRQWLQXHWRSD\WKH3ULHVW//&VRYHU)05DQGWRDFWLQWKH

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     DVGHWDLOHGDERYH,IWKH%&+)%RDUGKDGEHHQDZDUHRIWKHH[LVWHQFHRIWKHIDFWVQRWGLVFORVHGE\

     WKH3ULHVW//&VWKH%&+)ZRXOGQRWKDYHDVLWGLGSDLGVXEVWDQWLDOVXPVDERYHPDUNHWUHQWLQ

     YLRODWLRQRIODZDQGUHJXODWLRQVSHUWDLQLQJWRLWVJRYHUQDQFH

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      UHODWLQJWRWKRVHOHDVHVWKHUHIRUHFRXOGQRWEHSUHVHQWHGWRWKH%RDUG1RUDWLRQDOLQIRUPHG%RDUGRI

      7UXVWHHVIRUDQRQSURILW)4+&ZRXOGKDYHRUFRXOGKDYHODZIXOO\DSSURYHGDQ\RIWKH3ULHVW

      /HDVHVIRULQWHUDOLDWKHIROORZLQJUHDVRQV

             D 7KHOHDVHWHUPVDUHXQFRQVFLRQDEOHDQGZRXOGUHVXOWLQWKHGLYHUVLRQRIPLOOLRQVRI

                     ³RYHU)05´GROODUVRIIHGHUDOKHDOWKSURJUDPPRQH\WRHQWLWLHVRZQHGE\DIULHQG

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                    FRVWUHSRUWV XQOHVVWKHUHLVDUHDVRQDEOHEDVLVIRUSD\PHQWRIRYHU)05 ,QIODWHG

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                     WKH3ULHVWOHDVHV IXUWKHUH[SRVH%&+)WRFODLPVWKDWLWUHIXQGFODLPVRYHUSD\PHQWV

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             H 7KHFORVHUHODWLRQVKLSEHWZHHQ+HEHWVDQG3ULHVWH[SRVHVWKHQRQSURILW)4+&WRDGYHUVH

                     IHGHUDOWD[FRQVHTXHQFHVDVGHWDLOHGDERYHLQUHJDUGWR,QWHUQDO5HYHQXH&RGHDQG

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             7KHIUDXGDQGGHFHLWDOOHJHGKHUHLQZHUHQRWGLVFRYHUHGE\%&+)XQWLOODZHQIRUFHPHQW

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      FLUFXPVWDQFHV3URPHQDGH'53DQG,QODQG9DOOH\DUHHDFKFKDUJHGZLWKNQRZOHGJHWKDWWKH\ZHUH

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     DQRQSURILW)4+&WRSD\DQGWRUHSRUWDVRSHUDWLQJH[SHQVHVWR&06UHQWWKDWLVPLOOLRQVRIGROODUV

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     IXQGVWRWKH3ULHVW//&VDQGWKHLQIODWLRQRIUHLPEXUVHPHQWUDWHVSDLGE\WKH'+&6WRWKH)4+&

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         LHWKDWSHUIRUPDQFHXQGHUWKHOHDVHEHRQO\ODZIXO UHVXOWHGIURP+HEHWV¶FRQFHDOPHQWIURP

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     3URFHGXUHVHFWLRQVXEGLYLVLRQ E HYHQWKRXJKWKHFODLPVPDGHRQWKHSDUW\EULQJLQJWKHDFWLRQ

     DUHXQOLTXLGDWHGDQGQROLDELOLW\RQWKHSDUWRIVXFKSDUW\KDVDULVHQ &RGH&LY3URFௗVXEG

         E  ,QWHUSOHDGHUDFWLRQVDUHDOVRSURSHUXQGHU&RGHRI&LYLO3URFHGXUHVHFWLRQVXEGLYLVLRQ D 
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      LVZKROO\RUSDUWO\DGPLWWHGE\WKHVWDNHKROGHU$FFRUGLQJO\%&+)ZLOOGHSRVLWZLWKWKHFRXUWWKH

      )05IRUWKHWKUHHORFDWLRQVOHDVHGIURPWKH3ULHVW//&VDQGWKHUHDIWHUDZDLWWKHFRXUW¶VUXOLQJRQ

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     WHPSRUDU\UHVWUDLQLQJRUGHUVRULVVXHVXFKSUHOLPLQDU\LQMXQFWLRQVDVQHFHVVDU\WRUHVWUDLQDQGHQMRLQ

     GHIHQGDQWVXQWLOIXUWKHUQRWLFHDQGRUGHURIWKHFRXUWIURPSURVHFXWLQJDQ\DQGDOOSURFHHGLQJVDQG

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                       HVWDEOLVKWKHLUULJKWWRFRQWURORUGLUHFWGLVWULEXWLRQRIWKHPRQH\GHSRVLWHGE\%&+)

                       KHUHLQWRLVVXHVXFKGHFUHHVDQGRUGHUVRISD\PHQWDSSURSULDWHWKHUHWR'XULQJWKH

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                       QRWLFHDQGRUGHURIWKHFRXUWIURPSURVHFXWLQJDQ\DQGDOOSURFHHGLQJVDQGDQ\DQGDOO

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   1                                     PROOF OF SERVICE
                              STATE OF CALIFORNIA, COUNTY OF ORANGE
   2
               I am employed in the County of Orange, State of California. I am over the age of 18 and not a
   3
       party to the within action. My business address is 12 Journey, Suite 255, Aliso Viejo, CA 92656.
   4
              On the date indicated below, I served the foregoing document described as:
   5
                         NOTICE OF ERRATA RE: SECOND AMENDED COMPLAINT
   6

   7   on interested parties in this action by placing a true and correct copy thereof enclosed in a sealed
       envelope addressed as follows:
   8

   9     Jeffrey B. Harris                                     Attorneys for Defendants INLAND VALLEY
         John S. Kyle                                          INVESTMENTS, LLC, DRP HOLDINGS,
  10     Laura K. Gantney                                      LLC, and PROMENADE SQUARE, LLC
         KYLE HARRIS LLP
  11
         2305 Historic Decatur Road, Suite 100
  12     San Diego, CA 92106
         jharris@klhipbiz.com
  13     jkyle@klhipbiz.com
         lgantney@klhipbiz.com
  14

  15     Email courtesy copy to:
         Frank Stevens, DHCS Independent Monitor
  16   (BY OVERNIGHT DELIVERY) On the date below, I placed the above-described envelope for
  17   collection in a box regularly serviced by overnight mail delivery carrier GSO at Aliso Viejo,
       California, postage prepaid, addressed as indicated above.
  18   (BY ELECTRONIC SERVICE) On the date below, I caused the foregoing document to be presented
  19   to this firm’s electronic filing service OneLegal.com for filing and electronic service. In accordance
       with OneLegal.com’s filing system, OneLegal.com will send email notification of such filing and
  20   service to all attorneys described above.

  21
              I declare under penalty of perjury under the laws of the State of California that the above is true
  22   and correct. Executed August 4, 2021.
                                                                      Digitally signed
  23                                                                  by Dan E. Heck
                                                                      Date: 2021.08.04
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                                                     ________________________
  25                                                     Dan E. Heck
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                                                 PROOF OF SERVICE
